               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 32-2


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )             ORDER
                                              )
DERRICK TIMOTHY DAVIS,                        )
                                              )
                 Defendant.                   )
____________________________________          )


       THIS CAUSE coming on to be heard and being heard before the undersigned

pursuant to a Violation Report (#63) filed by United States Probation Officer Robert

T. Ferguson. At the call of this matter on for hearing it appeared the defendant was

present with his counsel, Albert M. Messer, and the Government was present through

Assistant United States Attorney, John Pritchard. From the evidence offered, the court

makes the following findings.

       Findings: On July 6, 2012 the undersigned entered an Order setting terms and

conditions of pretrial release for the defendant. The purpose of that Order was so that

defendant could be taken by his mother and attend a drug treatment program. After

the undersigned set the terms and conditions of release, state authorities served

defendant with outstanding warrants. As a result, defendant was detained on the state

warrants. Defendant was not allowed to be released pursuant to the Order setting

terms and conditions of release by this Court and he has been detained at the



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Burke/Catawba Detention facility since that time.

      The undersigned cannot find there has been shown that defendant, willfully and

without lawful excuse, violated any condition of pretrial release entered in this matter

by the undersigned. Defendant was to be released to the custody of his mother on July

9, 2012 so he could obtain drug treatment. Due to the fact he was arrested by state

authorities, defendant was not allowed to be released. The defendant came before the

undersigned on August 16, 2012 and entered a plea of guilty to the crime of

manufacture of methamphetamine in violation of 21 U.S.C. § 841(a)(1) and 846. Due

to the plea of guilty, the undersigned was required by 18 U.S.C. § 3143(a)(2) to detain

defendant.

      Based upon the foregoing, the undersigned has determined to enter an order

dismissing as moot the Violation Report filed in this matter.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the Violation Report (#63) filed in this

matter is hereby DISMISSED as moot.


                                           Signed: August 20, 2012




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